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Katie Riding
30 Edwards St.
Fort Rucker, AL 36362
(801) 931-8532
Katieciciiogl7@gmail,com
8th June 2022

US_Magistrate Judge McCook
US Magistrate Judge McCook
22 W Depot Street Suite 200
Greenville, TN 35543
Reference case no 3:22MJ02002

Dear Magistrate Judge McCook,

My name is Katie Riding and I am the sister of Julianne Wagner Gerritsen. Juli was killed in an
aircraft accident in Tennessee on December 29, 2021. The pilot, Matthew Jones, survived the
crash and he is the defendant of the above mentioned case.

Matthew Jones is facing charges in Utah Case: US vs Matthew Jones, Case No.
2:21-car-00436-DS in Utah Federal Court. Matthew violated his pretrial conditions for release, that
he not pilot any aircraft and that he not travel outside the state of Utah. Matthew flew to a small
airport in Tennessee where he was told several times by local pilots not to fly due to incoming
weather. He disregarded their caution and then piloted an aircraft for a total of 8 minutes before
crashing into a mountainside resulting in the death of my sister.

As a direct result of Matthew's actions, my nephew, Spencer, is now without his Mother, we've
been left without our sister, and my parents have outlived their daughter. As far as we know, no
one that we know had heard of the captioned case regarding Matthew. Matthew intentionally
misled all of us which led to this tragic accident. If Jones had not been released, my sister would
still be here and my nephew would still have his best friend/Mother. He was her shining star &
who she lived her life for everyday.

I am writing to you regarding the aforementioned case and ask that you expedite the transfer of
Jones from the VA Hospital in Virginia, where he currently is and have him brought back to Utah
to face the ·charges here.

I would be glad to speak with you regarding this matter and can be reached via telephone at
801-931-8532.

Sincerely,

Katie L. Riding




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